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MITCHELL, BRISSO.
DELANEY & VRIEZE. LLP
814 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document 115 Filed 02/13/18 Page 1 of 14

Nancy K. Delaney, State Bar #70617

William F. Mitchell, State Bar #159831
MITCHELL, BRISSO, DELANEY & VRIEZE
814 Seventh Street

P.O. Drawer 1008

Eureka, CA 95502

Telephone: (707) 443-5643

Facsimile: (707) 444-9586

Email: ndelaney@mitchelllawfirm.com

Attorney for Defendants
JANNEE DALE, LISA ALLISON,
BUFFEY WRIGHT and MIMI CABRAL
UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

LINDA MORALES, individually, and as Case No.: 16-CV-02429-EMC

Guardian Ad Litem for KB, and

RUDOLFO MORALES, DEFENDANTS’ TRIAL BRIEF
Plaintiffs, Pre-Trial Conference:

DATE: March 6, 2018

TIME: 2:30 p.m.

CTRM: 5, 17th Floor, San Francisco
Honorable Edward M. Chen

VS.

COUNTY OF MENDOCINO, JANNEE
DALE, LISA ALLISON, ROBIN
BUXTON, BUFFEY WRIGHT,
JENNIFER SOOKNE, MIMI CABRAL,
SUSAN ROGERS, VW [minor], and
DOES 1-10, inclusive,

Trial:
DATE: April 2, 2018
TIME: 8:30 a.m.

Defendants.

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DEFENDANTS’ TRIAL BRIEF

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MITCHELL. BRISSO,
DELANEY & VRIEZE, LLP
$14 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document 115 Filed 02/13/18 Page 2 of 14

TABLE OF CONTENTS

I. CLAIMS AND DEFENDANTS REMAININ Gsssiscctsssssiccccasceccasesceiseccecasvnsense
Claims and Defendants by Dismissed by Plaintiffs .........0..0.cccccccseseseseeseeseees
Claims Disposed of on Motion for Summary Judgment .............ccccccesceseeseees
Claims Remaining Due to Factual Disputes ............0...cccccceeseesceeseesesseseeeseeeees
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First Amendment Claim / Unlawful Interrogation (Claims 4 and 5)...............
Issues With Investigation... cecscecssecseesseeseeeseeceeesenseceseceeeceesscscsreeeeseees

II. VOLUNTARY CONSENT = RELEVANT FACTORS... cccssesunsscesssasasivaasoesnes

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DEFENDANTS’ TRIAL BRIEF

Case 3:16-cv-02429-EMC Document 115 Filed 02/13/18 Page 3 of 14
I TABLE OF AUTHORITIES
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United States v. Iwai, No. 15-00723 HG, 2016 WL 2770785, at *9
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MITCHELL, BRISSO,
DELANEY & VRIEZE. LLP
814 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 4 of 14

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MITCHELL. BRISSO.
DELANEY & VRIEZE. LLP
814 Seventh Street
P.O. Drawer 1008
Eureka, CA 95502

Case 3:16-cv-02429-EMC Document 115 Filed 02/13/18 Page 5 of 14

I. CLAIMS AND DEFENDANTS REMAINING

Claims and Defendants by Dismissed by Plaintiffs

Following the filing of defendants’ motion for summary judgment, plaintiffs
have dismissed defendants Robin Buxton, Jennifer Sookne and Susan Rogers. Plaintiffs
also dismissed four claims from the complaint: Fourteenth Amendment Violation
regarding the interview of KB at school (Seventh cause of action); Conspiracy to
Intentionally Inflict Emotional Distress' (Eighth cause of action); Violation of State
Law of Confidentiality (Ninth cause of action); Violation of State Law Regulation -
minor held in Shelter for excessive time (Tenth Cause of Action); and Violation of
State Law — conspiracy to make false report (Eleventh Cause of Action).

Claims Disposed of on Motion for Summary Judgment

In its Order Granting in Part and Denying In Part Defendants’ Motion for
Summary Judgment, the Court granted summary judgment as to the following claims:

e First Cause of Action for violation of the Fourteenth Amendment Right to
Familial Association as to KB’s initial removal under the Safety Plan;

e Second Cause of Action for Violation of the Fourth Amendment as to the
unlawful entry claim;

e Third Cause of Action for violation of the Fourteenth Amendment Right to
Familial Association as to KB’s removal under the Safety Plan;

e Sixth Cause of Action for violation of the Fourteenth Amendment Right to
Familial Association as to providing KB with health care services while he was
housed in the Children’s Shelter;

e Plaintiffs’ §1983 claim for Monell liability against the County of Mendocino.

' The ITED claim remains as to defendant Buffey Wright only.

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DEFENDANTS’ TRIAL BRIEF

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MITCHELL, BRISSO,
DELANEY & VRIEZE, LLP
$14 Seventh Street
P.O, Drawer 1008
Eureka, CA 95502

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 6 of 14

Claims Remaining Due to Factual Disputes

The Court determined that factual disputes precluded granting summary
judgment as to the following claims:

e First Cause of Action for violation of the Fourteenth Amendment Right to
Familial Association as to KB’s placement in the Children’s Shelter under the
Voluntary Placement Agreement (Linda Morales and KB against Jannee Dale
only);

e Second Cause of Action for Violation of the Fourth Amendment as to the
“seizure pertaining to KB’s removal under the Voluntary Placement Agreement”
(KB against Jannee Dale only);

e Third Cause of Action for violation of the Fourteenth Amendment Right to
Familial Association as to KB’s placement and continued detention in the
Children’s Shelter under the Voluntary Placement Agreement (Linda Morales
and KB against Jannee Dale, Lisa Allison and Mimi Cabral);

e Eighth Cause of Action for Intentional Infliction of Emotional Distress (Linda
Morales and KB against Buffey Wright only).

Claims That Are Not Viable
Rudolfo Morales

Defendants moved to dismiss Rudolfo Morales on summary judgment, arguing
that he had no cognizable constitutional interest as an alleged “grandfather figure” to
KB (Defendants’ MSJ, Dkt. No. 76, p. 14). This was not specifically addressed in the
MSJ Order, however, plaintiffs’ counsel argued that as to plaintiff Rudolfo Morales, his
constitutional rights were violated by entry to the residence, he shares with Linda
Morales and KB. This claim is no longer viable based on the Court’s disposition of the
Franks claims. As set forth in defendants’ initial memorandum, and unchallenged by

plaintiffs, a grandparent without legal custody has no recognized constitutional right to

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DEFENDANTS’ TRIAL BRIEF

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MITCHELL, BRISSO.
DELANEY & VRIEZE. LLP
S14 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document 115 Filed 02/13/18 Page 7 of 14

association with respect to a grandchild — let alone a “grandfather figure.” (Miller v.
California, 355 F3d 1172, 1175-77 (9" Cir. 2004); Huk v. County of Santa Barbara,
650 Fed.Appx. 365, 367 (9" Cir. 2016); Ragan v. County of Humboldt, 2017 WL
878083 (N.D. Cal. 2017). Accordingly, Rudolfo Morales interrogation has no
remaining cognizable claim.

First Amendment Claim / Unlawful Interrogation (Claims 4 and 5)

The MSJ Order also denied summary judgement as to Linda Morales’ and KB’s
claim for violation of their First Amendment rights with respect to the actions taken by
Dales pursuant to the “See and Speak” warrant, and their claim under the Fourteenth
Amendment for Dale’s “unlawful interrogation” of KB, also pursuant to the “See and
Speak” warrant. The Order declined to grant summary judgment on these claims on the
grounds that these were not briefed by defendants. However, defendants discussed that
plaintiffs’ First Amendment claim (fourth cause of action) was not cognizable as a
matter of law in their memorandum — albeit in a footnote — an argument which plaintiffs
responded to in their opposition. As set forth in defendants’ memorandum, the Ninth
Circuit has held that interference-with-familial association claims are cognizable under
the Fourteenth Amendment rather than the First Amendment, citing Lee v. County of
Los Angeles, 250 F.3d 668, 685-86 (9"" Cir. 2001) and Kaur v. City of Lodi, No. 2:14-
CV-00828-TLN-AC, 2017 WL 2833403, at *17 (E.D. 2017). Accordingly, defendants
respectfully submit that plaintiffs’ First Amendment claim was in actuality redundant of
their Fourteenth Amendment claims, and necessary subject to same disposition.

Defendants also addressed the issue briefly mentioned in plaintiffs’ fifth cause of
action, i.e., Dales’ alleged “unlawful interrogation” of KB at the Morales home
pursuant to the “See and Speak” warrant, although defendants’ did not specifically refer
to plaintiffs’ fifth cause of action. Any claim that plaintiffs’ constitutional rights were

violated when Dale spoke with KB is necessarily precluded by the issuance of the “See

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MITCHELL. BRISSO.
DELANEY & VRIEZE. LLP
$14 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 8 of 14

and Speak” warrant. (Defendants’ memorandum, Dkt. No. 76, pp. 11-13.) This Court
has determined that plaintiffs’ challenge to-issuance of that warrant (essentially, the
Franks claim) fails as a matter of law. That warrant authorized Dale to enter the
Morales home and “see and speak” to KB to determine whether §300 proceedings
should commence. Accordingly, there is no legal basis for any “unlawful interrogation”
claim.

Issues With Investigation

Recent communications from plaintiffs’ counsel suggest that plaintiffs
purportedly advance claims relative to the investigation conducted by defendants. First,
no such cause of action is found in plaintiffs’ Complaint.’ Secondly, although there
were things that remained to be done if the matter had proceeded to contested hearing,
the need for same was obviated by the Voluntary Placement Agreement. Nor is there a
constitutionally protected right to have an investigation conducted in a particular
manner. (Cf. Devereaux v. Abbey, 263 F.3d 1070 (2001), citing, Myers v. Morris, 810
F.2d 1437, 1460-61 (8" Cir. 1987) (discussing in detail this “grey area of investigative
procedure as to which there were, and probably still are, less than clearly established
legal norms.”’).)

Il. VOLUNTARY CONSENT — RELEVANT FACTORS

With the exception of the intentional infliction of emotion distress claim against
Buffey Wright, the central dispositive issue in this case is consent — more specifically,
whether Linda Morales’ execution of the Voluntary Placement Agreement was not
voluntary. The Court has disposed of plaintiffs’ Fourteenth Amendment familial
association claim to the extent it is based on KB’s stay at the Denton home pursuant to

the Safety Plan because Linda Morales’ consent to this was unequivocal and voluntary

* Had such a claim been advanced, defendants could have addressed it in their motion for
summary judgment.

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MITCHELL, BRISSO,
DELANEY & VRIEZE. LLP
$14 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 9 of 14

under the undisputed facts. What remains is plaintiffs’ interference with familial
association claim with respect to KB’s “continued detention” in the Children’s Shelter
pursuant to the Voluntary Placement agreement. As to this claim, the Court declined to
grant summary judgment on the ground that a triable question of fact remained as to
whether Linda Morales’ initial consent was voluntary and whether she withdrew that
consent prior to the occasion when KB was returned. (Dkt. No. 76, p. 13.)

The law with respect to the issue of Linda Morales’ consent is informed by case
law addressing challenges to searches and seizures in criminal prosecutions. Cases
uniformly hold that the “totality of the circumstances” must be considered in
determining whether consent is voluntary, and that no single factor controls. However,
several factors applicable to the facts of this case can be distilled from a review of
Supreme Court and Ninth Circuit cases.

With respect consent in this case, a critical fact which the jury should consider is
the “Voluntary Placement Agreement — Placement Request” signed by Linda Morales
on August 4, 2015. By this agreement, Morales requested that KB be placed in a foster
care facility, i.e., the Children’s Shelter. The reason for her request is stated on the
agreement as “Guardian could not handle [KB’s] behavior anymore.” (See attached
Agreement.) The signed agreement also states: “J understand that I can withdraw this
request or terminate this placement agreement at any time.” (Id., emphasis added.)

Courts have uniformly held that the signing of a consent agreement form, and
knowledge that it can be revoked or refused is “highly relevant” in determining whether
the consent was voluntarily given. United States v. Castillo, 866 F.2d 1071, 1082 (9th
Cir.1989) (“Execution of a consent form is one factor that indicates
that consent was voluntary.”); United States v. Childs, 944 F.2d 491, 496 (9th Cir.
1991) (“ Knowledge of the right to refuse consent is highly relevant in determining

whether a consent is valid - citing United States v. Mendenhall, 446 U.S. 544, 558-59

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MITCHELL. BRISSO,
DELANEY & VRIEZE. LLP
814 Seventh Street
P.O, Drawer 1008
Eureka, CA 95502

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 10 of 14

(1980); United States v, Mendenhall, 446 U.S. 544, 558-59 (1980) (knowledge of the
right to refuse consent is “highly relevant” in determining whether a consent is valid);
United States v. Vandivere, 15 F. App'x 447, 449-50 (9th Cir. 2001) (factors included
signing of written consent form and notation on form by defendant indicating right to
refuse consent to search); Orhorhaghe v. INS, 38 F.3d 488, 496 n. 12 (9th Cir.1994)
(noting that “the subject's knowledge of a right to refuse is a factor to be taken into
account” in the voluntariness determination) (quoting Schneckloth, 412 U.S. at 249, 93
S.Ct. 2041); United States v. Iwai, No. 15-00723 HG, 2016 WL 27707835, at *9 (D.
Haw. May 13, 2016)(signing of search consent form favored finding of voluntary
consent — citing United States v. Castillo, 866 F.2d at 1082)

In the criminal cases cited above, the reference to “right to refuse” consent is due
to the fact that a search consent or authorized a one-time search by law enforcement of
a home or vehicle. Here, although the Voluntary Placement Agreement did not
expressly state that Morales had the “right to refuse” consent, it had the equivalent
language in the context of an on-going placement (as opposed to a search): “I
understand that I can withdraw this request or terminate this placement agreement at
any time.” More fundamentally, the form was entitled “Voluntary Placement
Agreement — Placement Request,” which necessarily implies that the signer has a legal
right to refuse consent. (Emphasis added.)

Thus, the undisputed fact that Linda Morales signed the voluntary placement
form, which informed her, among other things, that she had the right to withdraw her
consent to K.B’s placement at any time is highly relevant and indicates that her consent
was voluntary.

Another important factor to be considered is Linda Morales’ knowledge
regarding her rights with respect to juvenile law and her relative “sophistication” in this

regard. LaDuke v. Nelson, 762 F.2d 1318, 1329-30 (9th Cir. 1985), amended, 796 F.2d

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MITCHELL. BRISSO,
DELANEY & VRIEZE. LLP
$14 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 11 of 14

309 (9th Cir. 1986)(factors include “business sophistication”); United States v.
Heimforth, 493 F.2d 970, 971 (9th Cir.1974)(sophistication of defendant is factor to be
considered in voluntariness analysis); Schneckloth v. Bustamonte, 412 U.S. 218 (1973)
(factors include “the consenting individual’s age, intelligence, education and language
ability”).

The “vulnerability” of the person giving consent is also a factor to be considered
in determining whether the consent was voluntary or coerced. LaDuke v. Nelson, 762
F.2d at 1329-30 (factors include “vulnerable nature” of person giving consent as well
as whether the authorities made a “show of force”). See also, MSJ Order, Dkt. No. 76,
p. 10:19-20 (Factors to consider include “the words and actions of the officer, the
sophistication or vulnerability of the person searched...”).

In addition, the “cooperative nature” of the person giving consent is an important
factor in the calculus of voluntariness. United States v. Rosi, 27 F.3d 409, 412 (9th Cir.
1994)(“Courts will infer consent from the cooperative attitude of a defendant.”); United
States v. Iwai, No. 15-00723 HG, 2016 WL 2770785, at *9 (D. Haw. May 13,
2016)(signing of search consent form favored finding of voluntary consent — citing
United States v. Castillo, 866 F.2d at 1082); Order Granting in Part and Denying in Part
Defendants’ Motion for Summary Judgment, Dkt. No. 76, p. 10:19-20 (Factors to
consider include “the words and actions of the officer, the sophistication or
vulnerability of the person searched...)

Here, the undisputed evidence will demonstrate that Linda Morales, who was the
court-appointed legal guardian of KB and someone who had been the subject of a
previous child-abuse investigation, was well-versed with respect to her rights as KB’s
guardian as well as his placement. She cannot be credibly portrayed as
“unsophisticated” or “vulnerable” with respect to the Voluntary Placement Agreement

or KB’s continued detention at the Children’s Shelter.

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MITCHELL, BRISSO,
DELANEY & VRIEZE. LLP
$14 Seventh Street
P.O. Drawer 1008
Eureka. CA 95502

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 12 of 14

Il. LACK OF CONSENT — PLAINTIFFS HAVE THE BURDEN OF PROOF

Defendants are mindful that the government has the burden of proof on the issue
of voluntary consent in a criminal search and seizure case. However, the Ninth Circuit
holds that in a civil case brought under §1983, the plaintiff has the burden of proving
lack of consent. Larez v. Holcomb, 16 F.3d 1513, 1516-17 (9th Cir. 1994) (holding
that it was plaintiff's burden to prove consent was involuntary in civil case alleging
unlawful search and seizure and stating that the plaintiff in a §1983 case “at all times
had the ultimate burden” of proving her case); Pavao v. Pagay, 307 F.3d 915, 918-19
(9th Cir. 2002) (“In a criminal case, the government bears the burden of proving by a
preponderance of the evidence that consent was freely and voluntarily given.... In a
civil case under 42 U.S.C. § 1983, however, the plaintiff carries the ultimate burden of
establishing each element of his or her claim, including lack of consent” — citing Larez,
inter alia); Meyer v. Wilson, No. CV-11-5138-RHW, 2013 WL 2295700, at *4 (E.D.
Wash. May 24, 2013) (same).

IV. FOURTH AMENDMENT SEIZURE

As set forth in defendants’ memorandum in support of summary judgment,
claims of unlawful seizure in loss of familial association claims “should properly be
assessed under the Fourteenth Amendment standard for interference with the right to
family association.’” Ragan v. Cty. of Humboldt Dep’t of Health & Human Servs, 2017
WL 878083, at *7 (dismissing vicarious Fourth Amendment claim of guardian without
leave to amend, and quoting Wallis v. Spencer, 202 F.3d 1126, 1137 n. 8 (9th Cir.
2000); see also Belinda K. v. County of Alameda, 2011 WL 2690356, at *7 (N.D. Cal.
July 8, 2011)). Accordingly, instructing the jury on Fourth Amendment seizure law
with respect to KB’s placement in the Children’s Shelter would be erroneous.

Furthermore, if the jury finds that Linda Morales, as KB’s guardian, consented to

the Voluntary Placement agreement, and continued to do so while KB was in the

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MITCHELL. BRISSO.
DELANEY & VRIEZE. LLP
814 Seventh Street
P.O. Drawer 1008
Eureka, CA 95302

Case 3:16-cv-02429-EMC Document115 Filed 02/13/18 Page 13 of 14

Children’s Shelter, neither KB nor Linda Morales can maintain a Fourth Amendment
seizure claim.
Vv. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

Plaintiffs Linda Morales and KB seek damages against Buffy Wright for

intentional infliction of emotional distress. Buffy Wright is Linda Morales’ daughter
and KB’s mother. Plaintiffs’ bar is set very high on their intentional infliction of
emotional distress claim. In order to prevail, plaintiffs must prove that Buffy Wright
engaged in conduct that was “extreme and outrageous” which goes “beyond all
bounds of decency in order to intentionally inflict severe emotional distress on
plaintiffs.” (CACI 1602; Potter v. Firestone, 6 Cal.4" 965, 1000 (1993); Schild
v. Rubin, 232 Cal. App. 3d 755, 762-763 (1991) (defendant's conduct must
reasonably cause “such intense, enduring and nontrivial emotional distress that
no reasonable person in a civilized society should be expected to endure it”);
Dupree v. Apple, Inc., No. 16-CV-00289-LHK, 2017 WL 2617978, at *16-17
(N.D. Cal. June 16, 2017)(same).

Plaintiffs assert that Buffey Wright intentionally inflicted emotional distress on
them by, among other things, inducing VW to “manipulate” KB into making a false
abuse report and thereby depriving plaintiffs of the custody of KB. VW vehemently
denied this at deposition and confirmed that her report was made because she witnessed
the abuse. VW also used KB’s telephone to make the report -- with his permission.
She denied that defendant Wright (or Robin Buxton) provided the telephone number of
CPS.

The jury will in all likelihood view Buffy Wright with sympathy and as the true
victim in this case. The evidence will show that Wright made the Solomon’s choice to
dismiss her petition in the guardianship of K.B. and forego visitation with him while

continuing to provide financial support to him. Wright provided health care services to

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DEFENDANTS’ TRIAL BRIEF

Case 3:16-cv-02429-EMC Document 115 Filed 02/13/18 Page 14 of 14

1 || her brother Rodney Wright during his final illness and used the compensation for this
2 || through THHS to pay his bills. Defendant Wright allowed VW to live with her (defendant
3 || Wright) after the death of Rodney (VW’s father), because VW’s mother was homeless.
4 Buffey Wright was physically abused by both her parents and sexually abused by
5 || her father for ten years, commencing at age 8. Linda Morales divorced defendant
6 || Wright’s father but allowed him to return and live at the family residence from time to
7 ||time. The evidence will also show that Wright succeeded in recovery from substance
8 || abuse. has been gainfully employed for almost a decade and continues to pay child
9 || support for KB.

10 To portray Buffey Wright as a despicable mother (or aunt) who engaged in

11 || “extreme and outrageous” conduct in order to regain custody of K.B. and to inflict

12 || emotional distress on plaintiffs is overreaching, to say the least. The evidence shows the

13 || opposite to be true.

14 ||DATED: February 13, 2018 MITCHELL, BRISSO, DELANEY & VRIEZE

15 By: /s/ Nancy K. Delaney

° William Mitchell,

17 Attorneys for County Defendants

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cma
814 Seventh Street
suet 10
DEFENDANTS’ TRIAL BRIEF

